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 1   BURKE W. KAPPLER
     D.C. Bar No. 471936; Previously admitted pursuant to LR IA 11-3
 2   FEDERAL TRADE COMMISSION
 3   Office of General Counsel
     600 Pennsylvania Avenue, N.W.
 4   Washington, D.C. 20580
     Tel: 202-326-2043
 5   Fax: 202-326-2477
 6   Email: bkappler@ftc.gov
     Attorney for Petitioner Federal Trade Commission
 7

 8                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
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     FEDERAL TRADE COMMISSION,                   Case No. 2:18-cv-00183-GMN-CWH
11
                             Petitioner,         FEDERAL TRADE COMMISSION’S
12                                               NOTICE OF STATUS OF
13                       v.                      PROCEEDING

14   DONOR RELATIONS, LLC, and

15   COURTESY CALL, INC.,
16
                             Respondents.
17

18          Pursuant to this Court’s Order dated September 12, 2018, the Federal Trade

19   Commission hereby notifies the Court that it has no objection to administrative

20   closure of this case.

21          The FTC states, however, that its position should not be viewed as a

22   concession that the pending grand jury investigation involving Respondents

23   necessarily impairs the Commission’s authority to continue its investigation of

24   Respondents’ conduct with respect to telemarketing on behalf of charity clients, or

25   that Respondents have fully complied with the Commission’s civil investigative

26   demands. The Commission, therefore, reserves its rights to ask the Court to reopen

27   this CID enforcement proceeding.




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 1                                    Respectfully submitted,

 2
                                      ALDEN F. ABBOTT
 3                                    General Counsel

 4                                    LESLIE RICE MELMAN
 5                                    Assistant General Counsel for Litigation

 6                                    /s/ Burke W. Kappler
                                      BURKE W. KAPPLER
 7                                    Attorney
 8
                                      FEDERAL TRADE COMMISSION
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                                      Email: bkappler@ftc.gov
12
     Dated: September 25, 2018
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 1                               CERTIFICATE OF SERVICE

 2         I hereby certify that on September 25, 2018, I served the foregoing Notice upon

 3   counsel for Respondents Donor Relations, LLC, and Courtesy Call, Inc., by filing it

 4   through the CM/ECF system, which provides a Notice of Electronic Filing to counsel

 5   appearing in the case.

 6
                                                  /s/ Burke W. Kappler
 7                                                BURKE W. KAPPLER
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